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                           UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

UNITED STATES OF AMERICA                           §
                                                   §
vs.                                                §                  CASE NO. 4:23-CR-218
                                                   §
HARDIK JAYANTILAL PATEL                            §

          ORDER ON DEFENDANT’S MOTION TO WITHDRAW AS COUNSEL

         On this date, the Court considered Defendant Hardik Patel’s Motion to Withdraw as

Counsel. The Court is opinion that motion should be GRANTED.

         IT IS THEREFORE ORDERED that M. Francie Trimble of the law firm of Holland &

Knight, LLP, 811 Main Street, Suite 2500, Houston, Texas 77002, is no longer counsel for Hardik

Patel and that Steven Block remains lead counsel for Hardik Patel in the above-captioned case.



         SIGNED this ____ day of ________________, 2024.




                                                           JUDGE PRESIDING
